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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                        Plaintiffs,
         v.
                                                 Civil Action No. 25-0946 (CKK)
EXECUTIVE OFFICE OF THE PRESIDENT,
et al.,

                        Defendants.



DEMOCRATIC NATIONAL COMMITTEE,
et al.,

                        Plaintiffs,
         v.
                                                 Civil Action No. 25-0952 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                        Defendants.



LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                        Plaintiffs,
         v.
                                                 Civil Action No. 25-0955 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                        Defendants.

                                      PROPOSED ORDER




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       Having considered League and LULAC Plaintiffs’ motion for leave to file the supplemental

declaration of Jennette Sawyer, the Court hereby GRANTS the motion.



SO ORDERED.


Dated: ________, 2025                             ______________________________
                                                  United States District Judge




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